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 1
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 3   Telephone: (916) 422-4022
 4   Attorney for Meuy Lai Saechao
 5
 6
                   IN THE UNITED STATES DISTRICT COURT
 7
                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,          ) Case No.: 2:14-cr-206-JAM
                                        )
10            Plaintiff,                )
         v.                             ) DEFENDANT’S WAIVER OF
11                                      ) APPEARANCE
                                        )
12   CORAL WILSON,et al.,               )
                                        )
13            Defendants.               )
                                        )
14
15
         Pursuant to Rule 43 of the Federal Rules of Criminal
16
     Procedure, the Defendant, Meuy Lai Saechao, hereby waives
17
     the right to be personally present in open court upon the
18
     hearing of any motion or other proceeding in this case,
19
     except for any proceeding which Defendant’s presence is
20
     required such as a plea, any proceeding during the trial,
21
     and sentencing, or any court appearance which the Court
22
     orders Defendant to be present.         Defendant hereby requests
23
     the Court to proceed during every absence of her presence
24
     which the Court may permit pursuant to this waiver.
25
     Defendant agrees that her interests will be deemed
26
     represented at all times by the presence of her attorney,
27
     the same as if Defendant were personally present, and
28



                          Waiver of Appearance       -1-
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 1   further agrees to be present in court ready for trial any
 2   day and time the Court may arrange in her absence.
 3       The Defendant further acknowledges that she has been
 4   informed of her rights under Title 18 U.S.C. §§ 3161-3174
 5   (Speedy Trial Act), and authorizes her attorney to set
 6   times and delays under that Act without Defendant being
 7   present.
 8
 9   DATE: 8/6/14                       /s/__________________________
                                        Meuy Lai Saechao
10                                      Defendant
11
     I agree with and consent to my client’s waiver of
12
     appearance.
13
14   DATE:    8/6/14                    /s/__________________________
15                                      Kristy M. Kellogg
                                        Attorney for Meuy Lai Saechao
16
17
                                        ORDER
18
19       It is so ordered.

20
     Date:      8/14/2014               /s/ John A. Mendez_________
21
                                        Hon. John A. Mendez
22                                      U. S. District Court Judge
23
24
25
26
27
28



                            Waiver of Appearance       -2-
